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FoR THE wEsTERN DISTRICT oF rENNEssEE jo
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TENNESSEE RIvER HOMES, INC.,

Plaintiff,

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)
)

v. ) NO. 04-1286 T/An
)
SOUTHERN ENERGY HOMES, INC., )
)
)

Defendant.

 

ORDER

 

Before the Court is the parties’ Agreed Order filed with the Court on July 7, 2005. The
Agreed Order asks the Court to grant an extension of time within which Defendant may file a
dispositive motion. The Agreed Order similarly permits Plaintift` an extension of time within
which it should be allowed to respond to Defendant’s dispositive motion, and the Agreed Order
permits Defendant to file a reply to Plaintiff’s response.

Ai’ter due consideration, the Agreed Order submitted by the parties is DENIED without
prejudice Local Rules for the Western District of Tennessee require that a Motion to Modify the
Scheduling Order be filed to extend pre-trial deadlines See generally Local Rule 7.2 for the
Western District of Tennessee. Furthermore, Rule l6(b) of the Federal Rules of Civil Procedure
provides that “[a] schedule shall not be modified except upon a showing of good cause and by
leave of the District Judge, or when authorized by Local Rule, by a Magistrate Judge.”] Fed. R.

Civ. P. l6(b). “The primary measure of Rule 16's ‘ good cause’ standard is the moving party’s

 

l Pursuant to Administrative Order No. 2003, Motions to Amend Scheduling Order are to be decided by the
Magistrate Judge without a specific order of reference

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diligence in attempting to meet the case management orders and requirements.” Larom'a lnge v.
Rock Financr`al Corp., 281 F.3d 613, 625 (6th Cir. 2002) (citing Bradford v. Dana Corp., 249
F.3d 807, 809 (Sth Cir. 2001)). Neither the Local Rules or the Federal Rules of Civil Procedure
permit counsel to simply Submit an Agreed Order. The parties must submit a motion and show
good cause why the Rule 16(b) Scheduling Order should be amended

A trial in this matter is currently set to occur before United States District Judge J ames D.
Todd on October 24, 2005 . ln light of the current trial date, the modification requested by
counsel for the dispositive motion deadline is not reasonable The requested modification would
not allow sufficient time for the Court to rule on any dispositive motions prior to trial.
Furthennore, the Local Rules for the Western District of Tennessee do not allow a party to file a
reply to a response, except by leave of` the Court.

If the parties want to modify the Scheduling Order, they should file an appropriate motion
that complies With the Local Rules and the Federal Rules of Civil Procedure. Furthermore, in
light of the approaching trial date, it appears that a continuance of the trial date would be
required if the parties desire to modify the Scheduling Order as indicated in the Agreed Order.
Theref`ore, counsel should include a request to continue the trial date if they desire a modification
of the dispositive motion deadline comparable to that continued in the Agreed Order. For these
reasons, the Agreed Order is DENIED without prejudicel

IT IS SO ORDERED.
f___.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Qll»e` 2@. 200~£/
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Notice of Distribution

This notice confirms a copy of` the document docketed as number 22 in
case l:04-CV-01286 was distributed by f`ax, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

